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Filing # 49824329 E-Filed 12/08/2016 07:38:24 PM

IN THE CIRCUIT COURT OF THE NINTH JUDICIAL CIRCUIT

IN AND FOR ORANGE COUNTY
ROBERT BOBBY RENE CASE NO:
Division:
PLAINTIFF,
vs.
KEN LAWSON, SECRETARY | VERIFIED COMPLAINT

DEPARTMENT OF BUSINESS AND
PROFESSIONAL REGULATION, in his | DEMAND FOR JURY TRIAL
Official Capacities: TIRSO MARTINEZ,
Commissioner, Florida State Boxing | INJUNCTIVE RELIEF SOUGHT
Commission, in his Official and Individual
Capacity and MARCH LOPEZ,
Commissioner, Florida State Boxing
Commission, in his Official and Individual
Capacity, STEVEN BULINSKI, Investigator
for DEPARTMENT OF BUSINESS AND
PROFESSIONAL REGULATION and PAUL
UZIALKO, Investigator for DEPARTMENT
OF BUSINESS AND PROFESSIONAL
REGULATION

DEFENDANTS.

 

 

JURISDICTION AND VENUE

1. This is an action for monetary, declaratory, and injunctive relief pursuant to 42 U.S.C.
$1983 and §1988, the Fourth and Fourteenth Amendments to the United States Constitution, and
Florida law.

2. This action is brought as a result of a series of compliance inspections conducted by
inspectors from the Department of Business & Professional Regulation ("DBPR") and the resulting

administrative proceedings before the Florida State Boxing Commission.

 

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3. These compliance inspections targeted an African-American and minority-owned business
that housed legitimate, respected business, held events and that served the African- American
community.

4. These racially targeted compliance inspections violated the guarantees of the United States
Constitutions against racial and age discrimination. ©

5. This Court has jurisdiction as Plaintiff's claims are brought to redress deprivations, under
color of state authority, of rights, privileges and immunities secured by the United States
Constitution that occurred in Orange County, Florida and money damages exceed $15,000.00.

6. Venue is proper as all of the acts and/or omissions complained of herein occurred in Orange
County, Florida.

7. All conditions precedent have been met including but not limited to notice to FLORIDA

DEPARTMENT OF FINANCIAL SERVICES.

PARTIES

8. Plaintiff Shihan Robert Bobby Rene, during all times mentioned in this action, was and
still is a citizen of the United States and a resident of Florida. Mr. Rene is the owner of Rene’s
Dynamic Sports Center d/b/a Dynamic Fighting Championship located in Orange County, Florida.
Mr. Rene is African-American.

9. Defendant Ken Lawson is the Department of Business and Professional Regulations
current Secretary. The Secretary is responsible for setting policies and procedures of the
Department of Business and Professional Regulations; and the training and supervision of his
Department's inspectors. Defendant Ken Lawson is sued in his official capacity.

10. Defendant Tirso Martinez is a Commissioner for the Florida State Boxing Commission and

he is sued in his Official and Individual Capacity.

 

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11. Defendant March Lopez is a Commissioner for the Florida State Boxing Commission and
he is sued in his Official and Individual Capacity.

12.Steven Bulinski, Investigator for DEPARTMENT OF BUSINESS AND
PROFESSIONAL REGULATION and Paul Uzialko, Investigator for DEPARTMENT OF
BUSINESS AND PROFESSIONAL REGULATION are agents of DEPARTMENT OF

BUSINESS AND PROFESSIONAL REGULATION and participated in these inspections.

FACTUAL ALLEGATIONS
13. For more than 45 years, Shihan Robert B. Rene, the founder of Dynamic Fighting

Championship (DFC), has been doing amateur and professional demonstrations and competitions.

14. Mr. Rene’s business is highly respected and the sanctioned events are held at least two
times a month and is major source of income for Mr. Rene’s business.

15. The sanctioned events have always been healthy, safe and productive for young children,
teens and seniors who are all participants for DFC at Rene’s Dynamic Sports Center.

16. Furthermore, Mr. Rene is one of a few or the only African-American males in the state of
Florida that owns a business that is a sanctioning agent for amateur MMA, amateur boxing and
amateur kickboxing shows.

17. Mr. Rene and DFC has no history of complaints or non-compliance with DBPR and Florida
Boxing Commission.

18. Mr. Rene has been deprived on his ability to operate his business for nearly a whole year
as a result of the discriminatory inspections and disciplinary proceedings and these damages are

ongoing.

 

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19. Mr. Rene’s business services a predominately African-American clientele and Mr. Rene
fears that these discriminatory inspections and disciplinary proceedings will continue and cause
his business to suffer continued losses.

20. While Mr. Rene’s business holds events and shows that has serves a variety of clients, the
majority are African-American.

21. All employees who worked for Mr. Rene’s business are African-American.

22. At all relevant times, Mr. Rene’s business also served as a community and social center for
African-American residents of a sub-community of Orlando, Florida. Because most of Plaintiffs’
clientele at events and at his gym consisted of repeat customers, employees and customers knew
each other well.

23. The atmosphere at Mr. Rene’s events was professional, safe and never had any history of
non-compliance and had a reputation of safety and professionalism.

24. On March 7, 2015, Plaintiff was the legally licensed owner of RENE’S DYNAMIC
SPORTS CENTER d/b/a DYNAMIC FIGHTING CHAMPIONSHIP (DFC), located at 6145

Silver Star Road, Orlando, Florida 32808.

25. On or about March 7, 2015, Defendant STEVEN BULINSKI and PAUL UZIALKO
conducted a discriminatory inspection of an amateur event at Plaintiff's business located at 6145

Silver Star Road, Orlando, Florida 32808.

26. During the inspection, Steven Bulinski, Investigator for DEPARTMENT OF BUSINESS
AND PROFESSIONAL REGULATION and Paul Uzialko noted several areas of alleged “non-
compliance”.

27. First, the Department alleged insurance policy and claim form requirements were not met

on the day of the event.

 

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28. Nevertheless, Mr. Rene showed clear proof that this requirement was met.

29, Second, Steven Bulinski, and Paul Uzialko alleged the fight card did not meet age
requirements despite the fact that the underage participant was not taking part in a fight.

30. Third, Steven Bulinski, and Paul Uzialko alleged non-compliance with medical personnel
on site during the sanctioned event.

31. However, Steven Bulinski, and Paul Uzialko also noted paramedic, EMT, medical
equipment and the ambulance parked outside of the event.

32. Despite the complete absence of any history of non-compliance on the part of Mr. Rene’s
business, Defendant DBPR proceeded to petition for the most severe sanctions against an A frican-
American owned and frequented establishment.

33. In fact, Defendant DBPR petitioned by filing an Administrative Complaint to have Mr.
Rene’s business license permanently revoked, suspended, restricted, fined, reprimanded or placed
on probation.

34. The Administrative Complaint included a “Notice of Rights” giving Plaintiff a right to
request a formal hearing.

35. Plaintiff requested an evidentiary hearing, yet Plaintiff was summarily denied an
evidentiary hearing by DBPR despite Plaintiff filing a timely, written response denying the false

allegations in the Administrative Complaint.

36. Defendant DBPR also sought to assess costs and fines in an effort to economically cripple
Plaintiff's business.
37. In response to several Department Complaints alleging several violations, Mr. Rene

disputed the material facts and petitioned for an evidentiary administrative hearing (formal

 

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hearing) pursuant to Sections 120.569(2)(a) and 120.57(1), Florida Statutes. Yet, Mr. Rene was
denied the right to an evidentiary administrative hearing.

38. In December of 2015, Mr. Rene was only given an informal phone call with several
members of the Commission including Defendants Tirso Martinez and Marco Lopez.

39. During the informal phone call with the Commissioners, Mr. Rene was not represented by
counsel nor was Mr. Rene permitted to present any evidence in his defense.

40. During the hearing, Mr. Rene overheard several racially charged comments about his role
as the agent and his active involvement in his business.

41. During the conference call, Defendants Tirso Martinez, Commissioner and March Lopez,
Commissioner and other Commissioners present at the December 4, 2015 meeting, made several
comments to Plaintiff that revealed the discriminatory intent of the investigations and disciplinary
proceedings.

42. While on the conference call, the Commissioners made derogatory comments in a racially
charged and flippant manner about Plaintiff stating “...He is a coach, promoter and he’s making
money.”

43. Defendants Martinez and Lopez and other Commissioners present then asked, in a joking
and glib manner to Plaintiff, what punishment Plaintiff thought was appropriate.

44. Defendants Martinez and Lopez and other Commissioners present proceeding to joke about
taking away Plaintiff's license.

45. Defendants Martinez and Lopez and other Commissioners present told Plaintiff that the
suspension would remain in effect for 60 days.

46. On the same call, Defendants Martinez and Lopez and other Commissioners present gave

other businesses not owned by African-Americans a “pass” or “warning” for violations including

 

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not having an ambulance on the scene of an event, having no M.D. or O.D. on the scene of the
event, participants having no head gear and the event having no ring.

47. Furthermore, upon information and belief, when clients sought to find out about Plaintiff's
events, Defendants told those inquiring “don’t go to Rene’s”.

48. Defendants Martinez and Lopez and other Commissioners present then proceeded to
impose sanctions despite Plaintiff being deprived of any due process in the form of an evidentiary

hearing.

49. Furthermore, the Commissioners made several racially inappropriate comments and even
at one point asked, in a terse and facetious manner “what punishment do you (Mr. Rene) think is
appropriate?”

50. Due to the discriminatory actions of officials of the Department and the Commission, Mr.
Rene and his business has deteriorated and he has suffered loss to his reputation in the community
and the industry.

51. Mr. Rene has been prohibited from scheduling any event for the last 11 months.

52. Thereafter, Defendant DBPR filed subsequent Administrative Complaints as a result of
Defendants’ wrongful and discriminatory deprivation of Plaintiffs license from the January 5,
2016 order from the Florida Boxing Commission.

53. Upon information and belief, Plaintiff is aware that Defendants have not taken similar
actions against businesses with non-A frican-American ownership.

54. Defendants’ actions have a disparate impact upon Plaintiff's African-American owned
businesses.

55. Despite the complete absence of any history of non-compliance by Plaintiff, the stark

disparity of the racial make-up of Plaintiff's business and the unusually aggressive conduct of

 

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DBPR and the Florida Boxing Commission indicate that Defendants’ decision to target Plaintiff's
business in the manner they did was based in part, or in whole, on the race of Plaintiff, his age and
Plaintiff's clientele.

56. The inspections and disciplinary proceedings by DBPR and Florida Boxing Commission
trampled on Plaintiff's right to Equal Protection under the Fourteenth Amendment to the United
States Constitution and Article I, Section 2 of the Florida Constitution, providing that the
government cannot target individuals or businesses for investigation on the basis of race.

57. Plaintiffs brings this case to seek compensation, to obtain a declaration that Defendants’
acts were unlawful, and to enjoin Defendants from conducting further discriminatory inspections
that have a disparate impact and from applying their policies that resulted in the violations of
constitutional rights alleged herein

58. The DBPR has not conducted similar inspections and disciplinary proceedings with non-
African-American owners with similar businesses and licenses in Florida.

59. Upon information and belief, while DBPR inspectors were supposedly verifying Plaintiff's
compliance with certain regulations, they conducted the inspections and disciplinary proceedings
in a discriminatory manner with a disparate impact on African-American owned businesses such

as those owned by Mr. Rene.

60. Rene’s Dynamic Sports Center is located in a predominately minority inhabited area and
is owned, operated and/or frequented by minorities.

61. DBPR decision to target Mr. Rene’s business was based in part, or in whole, on Mr. Rene’s
race and the race of the business’s participants and the race of the clientele.

62. Upon information and belief, Defendants have not targeted similarly situated white owned

and operated businesses for inspection and discipline over similar claims.

 

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63. Upon information and belief, the DBPR and Florida Boxing Commission has not
consistently investigated and issued similar violations and imposed similar sanctions to similarly
situated white-owner business regarding the same alleged conduct.

64. The DBPR denied the opportunity to cure the alleged violations and further denied the
opportunity for hearing.

65. Mr. Robert Rene is a member of a protected class, he has suffered from an adverse action
and he was treated different from similarly situational members of the unprotected class.

66. Finally, the Department and Commission has impaired Mr. Rene ability to perform his
business and contractual obligations.

67. Mr. Rene’s business has quickly declined following the discriminatory inspection and
discipline.

CAUSES OF ACTION
FIRST CAUSE OF ACTION
Violation of the Fourteenth Amendment; 42 U.S.C. §1983

(Plaintiff against Defendants in their individual capacities)

68. Plaintiff re-alleges and incorporates the foregoing paragraphs | through 67 as if set forth
herein.

69. Defendants' actions described herein violated the rights of Plaintiff under the Equal
Protection Clause of the Fourteenth Amendment to the United States Constitution by depriving
Plaintiff of his right to equal protection under the law.

70. Defendants’ actions deprived Plaintiff of his right to equal protection under the law by
selecting Plaintiffs business for inspection and subsequent harsh discipline on the basis of

Plaintiff's race and the race of the owners, employees, and/or clientele at Plaintiffs business.

 

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71. Upon information and belief, Defendants’ selection of Plaintiffs business for a compliance
inspection was motivated by discriminatory intent, and Defendants unequally applied the laws for
the purpose of discriminating against Plaintiff based on his race.

72. Plaintiff's business is the sole business in the market area that is owned and operated by
African-Americans and has an overwhelming majority, African-American clientele, and no
Caucasian-owned businesses located in the same vicinity and providing the same services were
ever targeted by Defendants.

73. As to Defendant Lawson, he was personally involved in and engaged in the authorization,
planning and ratification of the investigation conducted by agents and employees of the DBPR
acting within his control and at his direction, which resulted in the deprivation of Plaintiff's
constitutional rights under the Fourteenth Amendment.

74. Defendants’ conduct violated clearly established constitutional or other rights, of which
Defendants knew, or which reasonable public officials should have known, rendering Defendants
liable to Plaintiffs under 42 U.S.C. §1983.

75. As a direct and proximate result of the wrongful and unlawful actions of these Defendants,
Plaintiff has suffered public shame and humiliation, past and future emotional harm, and past and

future economic harm.

WHEREFORE, Plaintiff demands judgment for compensatory and punitive damages against
the Defendants, together with reasonable attorney's fees and cost pursuant to 42 U.S.C. §1983,
and a trial by jury on all issues so triable.

SECOND CAUSE OF ACTION

Violation of the Fourteenth Amendment; 42 U.S.C. §1983

(All Plaintiffs against Defendants in their official capacities)

 

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76. Plaintiffs re-allege and incorporate the foregoing paragraphs | through 67 as if set forth
herein.

77. Defendants’ actions described herein violated the rights of Plaintiff under the Equal
Protection Clause of the Fourteenth Amendment to the United States Constitution by depriving
Plaintiff of his right to equal protection under the law.

78. Defendants' actions deprived Plaintiff of his right to equal protection under the law by
selecting Plaintiff's business for inspection and discipline on the basis of Plaintiffs race and the
race of the owners, employees, and/or clientele at Plaintiff's business and events.

79. Upon information and belief, Plaintiff was and continues to be targeted by Defendants for
inspection and discipline on the basis of race and were treated differently from similarly situated
businesses owned and operated by Caucasians.

80. Upon information and belief, Defendants' selection of Plaintiff's business for an inspection
was motivated by discriminatory intent, and Defendants unequally applied the laws for the purpose
of discriminating against Plaintiff based on their race. No Caucasian-owned businesses located in
the same vicinity and providing the same services were ever similarly targeted or disciplined by
Defendants.

81. Defendants were personally involved in the selection of Plaintiffs’ business for inspection
and discipline.

82. As to Defendant Lawson, he is the final policy and decision-maker. The policies created or
approved by Defendant Lawson in his official capacity, as well as the decisions made or approved

by Defendant Lawson in his official capacity, constitute final policies and decisions rendered by

his office.

 

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83. As to Defendant Lawson, he ordered or personally approved a subordinates order or
decision to conduct a racially motivated inspection on Plaintiff's business and treat them differently
from how Defendant Lawson or his employees treat similarly situated business owners by
intentionally and arbitrarily enforcing Florida law regarding inspections, discipline and fines.

84. As to Defendant Lawson, in his supervisory position and final policy-maker of the DBPR,
he promulgated an official policy that caused the constitutional misconduct as alleged and had
knowledge of such customs and policies in his official capacity at the policy level-making official
for the DBPR.

85. As to Defendant Lawson, he, as the policy level-making official for the municipality,
consciously and deliberately failed to train and/or supervise inspectors or Defendants on the proper
protocol and procedures in conducting inspections and discipline without violating federal Civil
Rights laws or causing harm to Plaintiff.

86. Defendant Lawson, as authorized decision-makers of the municipality intentionally
deprived Plaintiff of federally protected rights, and the actions taken and directed by them as
authorized decision-makers for the municipality violate federal Civil Rights law.

87. Defendants' conduct violated clearly established constitutional or other rights, of which
Defendants knew, or which reasonable public officials should have known, rendering Defendants
liable to Plaintiff under 42 U.S.C. §1983.

88. Upon information and belief, the statements and actions and/or inactions of DBPR officials
and employees, and DBPR officials and employees directly preceding and following the
inspections indicate that DBPR was involved in the planning and execution of the inspection, and
subsequently ratified the racially motivated discipline, including the manner in which Plaintiffs

business was disciplined.

 

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89. As the foreseeable, proximate, and direct result of Defendants’, or their subordinates
intentional, arbitrary, malicious, bad faith and irrational discriminatory treatment of Plaintiff, at
Defendants’ direction or with their approval and the resulting violation of Plaintiff's Fourteenth
Amendment right to equal protection of the law, Plaintiff has suffered public shame and

humiliation, past and future emotional harm, and past and future economic harm.

WHEREFORE, Plaintiff demands judgment for compensatory and punitive damages against
the Defendants, together with reasonable attorney's fees and cost pursuant to 42 U.S.C. §1983, and

a trial by jury on all issues so triable.

THIRD CAUSE OF ACTION
Violation of the Fourth Amendment; 42 U.S.C. §1983
(All Plaintiffs against Defendants in their individual capacities)

90. Plaintiffs re-allege and incorporate the foregoing paragraphs | through 67 as if set forth
herein.

91. Defendants’ actions described herein violated the rights of Plaintiffs under the Fourth
Amendment to the United States Constitution by subjecting Plaintiffs to racially motivated
discipline.

92. Defendants were personally involved in the selection of Plaintiff's fine and suspension
following an informal conference call during a meeting of the Commissioners and personally
participated in Plaintiff's deprivation of rights.

93. Defendants’ conduct violated clearly established constitutional or other rights, of which
Defendants knew, or which reasonable public officials should have known, rendering Defendants

liable to Plaintiff under 42 U.S.C. §1983.

 

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94. As a direct and proximate result of the wrongful and/or unlawful actions of these
Defendants, Plaintiff has suffered public shame and humiliation, past and future emotional harm,

and past and future economic harm.

WHEREFORE, Plaintiff demands judgment for compensatory and punitive damages against
the Defendants, together with reasonable attorney's fees and cost pursuant to 42 U.S.C. §1983, and

a trial by jury on all issues so triable.

FOURTH CAUSE OF ACTION
For Declaratory Relief
95. Plaintiffs re-allege and incorporate the foregoing paragraphs | through 67 as if set forth

herein.

96. There is a real and actual controversy between Plaintiff and Defendants regarding whether
Defendants may take actions as alleged herein. Plaintiff contends that Defendants have violated
the Constitution and laws of the United States and Florida and Plaintiff anticipates that Defendants
will deny these contentions. Plaintiff fears that he will again be subjected to such unlawful and
unconstitutional actions by Defendant Lawson and his staff, as well as Defendants from the Florida
Boxing Commission.

97. As to Defendants and Defendant Lawson, Plaintiff secks a judicial declaration against the
agency that employs these Defendants, specifically the Florida Boxing Commission and
Department of Business and Professional Regulation, to the extent that Defendants’ conduct has

deprived, and continues to deprive, Plaintiff of his rights under the Constitution and laws of the

United States.

WHEREFORE, Plaintiff respectfully requests that the Court enter a declaration, to the extent

the Court finds that state statutes, regulations, or the DPBR or Florida Boxing Commission policy

 

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authorized Defendants’ conduct, that those state statutes, regulations, or policies are
unconstitutional under the Fourth Amendment to the United States Constitution and award

attorney's fees and cost and all other relief this Court deem proper.

FIFTH CAUSE OF ACTION
Injunctive Relief
98. Plaintiff re-allege and incorporate the foregoing paragraphs 1 through 67 as if set forth

herein.

99. As a direct and proximate cause resulting from Defendants’ conduct, Plaintiff has suffered
irreparable emotional and economical harm and a loss of standing and reputation in the
community.

100. The injury suffered by Plaintiff is unique in nature. More specifically, the harm to
his reputation in the community as a law abiding business owner.

101. Plaintiffs have no assurance that any such inspections and disciplinary proceedings
have been permanently suspended by DBPR and are therefore in perpetual fear of being repeatedly
targeted.

102. Monetary compensation would not be adequate and Plaintiff has no other adequate
remedy at law to address Defendants’ past conduct, current conduct and possible future conduct,
of conducting inspections and disciplinary proceedings that have a disparate impact on businesses
with a racial make-up of the owners and/or clientele similar to Mr. Rene’s business, and prevent
likely future conduct, unless and until Defendants are enjoined by this Court. Plaintiff has and will

continue to cause irreparable injury to Plaintiff.

103. Plaintiff suffered a unique injury in that he was the subject of this kind of

discriminatory inspection and disciplinary proceedings by DBPR.

 

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104. Upon information and belief, the statements of Defendants, following the racially
targeted and motivated inspections and discipline indicate that Plaintiff will continue to be targeted
by discriminatory motivations and similar acts in the future.

105. Solely Monetary compensation or other remedies at law would be insufficient and
inadequate to address injury to Plaintiff and irreparable harm and injury will result in the absence
of an injunction being granted by the Court in that similar discriminatory inspections and discipline
will not be conducted and continuously violate Plaintiffs constitutional rights.

106. Plaintiff have and will continue to face irreparable injury if injunctive relief is not

granted.
WHEREFORE, Plaintiff demands judgment entered against Defendants:

a. As to Defendant Lawson, a preliminary and permanent injunction prohibiting him, in his
official capacity as Secretary, and the DPBR from conducting administrative inspections and
Florida Boxing Commission from imposing discipline as described herein or any pending or future

discipline and an injunction lifting any current suspensions against Plaintiff's licenses;

b. Award Plaintiff actual and/or nominal damages against Defendants;

Cc. Award Plaintiff attorney's fees and cost; and

d. Retain jurisdiction of this case and grant all other relief the Court may deem just and proper.
JURY DEMAND

Plaintiffs hereby demand a trial by jury as to Counts | through 5.
Dated: 12/8/2016

 

Respectfully submitted,

 

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Web: www.allendawsonlaw.com

Counsel for Plaintiff SHIHAN ROBERT B. RENE

VERIFICATION BY SHIHAN ROBERT BOBBY RENE

Under penalties of perjury, I declare that I have read the above Pleading and foregoing and that
the facts stated in it are true to the best of my personal knowledge and belief

STATE OF FLORIDA
COUNTY OF ORANGE

wy. bet 3. Kd

SHIHAN ROBERT BOBBY RENE
Owner of RENE’S DYNAMIC SPORTS CENTER
D/b/a DYNAMIC FIGHTING CHAMPIONSHIP

. (
The foregoing pleading was acknowledged before me this o nd day of clecemBe's
by SHIHAN ROBERT BOBBY RENE as owner of RENE’S DYNAMIC SPORTS CENTER

D/b/a DYNAMIC FIGHTING CHAMPIONSHIP who is personally known to me or has produced
the following identification: Tit iy

AP 2h lol

Notary Public, State of Florida

My Commission Expires:

[dbo [2020

 

sy ARIANA BARTOLOTTA
i) My COMMISSION wFFa54608
~ EXPIRES: JAN 26, 2020
Bonded through 1st State Insurance

  

 

 

 

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